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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA

      UNITED STATES OF AMERICA,                       )
                                                      )
                            Plaintiff,                )
                                                      )
                                                      )       Case No. CR-22-00328-PRW
      v.                                              )
                                                      )
      JARED MICHAEL HARRISON,                         )
                                                      )
                            Defendant.                )

                                              ORDER

              Before the Court is Defendant Jared Michael Harrison’s Motion to Dismiss the

 Indictment (Dkt. 17), which argues that the statute he is charged with violating, 18 U.S.C.

 § 922(g)(3), is unconstitutionally vague, in violation of the Due Process Clause, and

 unconstitutionally infringes upon his fundamental right to possess a firearm, in violation

 of the Second Amendment. For the reasons given below, the motion is GRANTED.

                                            Background

I.         The Facts as Alleged.

              On May 20, 2022, Harrison was pulled over by an officer of the Lawton Police

     Department for failing to stop at a red light. When Harrison rolled down his window to

     speak to the officer, the officer smelled marijuana and questioned Harrison about the source

     of the smell. Harrison told the officer that he was on his way to work at a medical marijuana

     dispensary, but that he did not have a state-issued medical-marijuana card.



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       The officer asked Harrison to step out of his car. When he did, the officer noticed

that Harrison was wearing an ankle monitor. Harrison told the officer that he was on

probation in Texas for an aggravated assault. 1 The officer searched Harrison and found no

contraband. The officer did not conduct a field sobriety test, nor did he request a blood

draw to determine if Harrison was under the influence of marijuana or some other unlawful

substance.

       Another officer arrived, and the two officers searched Harrison’s car. They found a

loaded revolver on the driver’s side floorboard; two prescription bottles in the driver’s side

door, one empty and one containing partially smoked marijuana cigarettes; and a backpack

in the passenger seat. The backpack contained marijuana, THC gummies, two THC vape

cartridges, and a pre-rolled marijuana cigarette and marijuana stems in a tray.

       Harrison was arrested at the scene. The next day, the State of Oklahoma charged

Harrison with possession of marijuana, possession of paraphernalia, and failure to obey a

traffic signal. Harrison is awaiting trial on those charges. Then, on August 17, 2022, a

federal grand jury returned an indictment charging Harrison with possessing a firearm with

knowledge that he was an unlawful user of marijuana, in violation of 18 U.S.C. § 922(g)(3).




1
  It turns out this wasn’t completely accurate; Harrison was actually on bond pending trial
in Texas for that aggravated assault. Harrison and another man are alleged to have shot into
a crowd at a college party, seriously wounding at least one partygoer. It is not clear from
the available records in the Texas case whether any conditions of release were imposed on
Harrison other than the location monitoring.


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II.        The Arguments.

               Harrison argues that the indictment should be dismissed for both Due Process

      Clause and Second Amendment reasons. Because the Court resolves the motion on Second

      Amendment grounds, the Court won’t reach Harrison’s Due Process claim or describe

      Harrison’s argument in that regard.

               As for the Second Amendment, Harrison argues he has the right to possess a firearm

      and that § 922(g)(3) infringes upon that right. Relying primarily on New York State Rifle

      & Pistol Association v. Bruen, 2 Harrison argues that the Second Amendment’s plain text

      covers his conduct (possessing a handgun), and that the government cannot affirmatively

      prove that restrictions like § 922(g)(3) are part of the historical traditions that define the

      outer bounds of the right to keep and bear arms.

               First, says Harrison, neither text nor history and tradition support the notion that

  only “law-abiding” individuals are part of the people protected by the Second Amendment.

  Second, Harrison argues that the government cannot point to any historical law on all fours

      with § 922(g)(3), much less a “tradition” of such laws. And while Bruen may not require

      the government to identify “a historical twin” to § 922(g)(3), where the societal problem

      addressed by § 922(g)(3)—users of illicit substances possessing guns—is nothing new, the

      government must identify “distinctly similar” laws in our Nation’s history and tradition.

      And this it cannot do, says Harrison.




      2
          142 S. Ct. 2111 (2022).


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               The United States disagrees. First, it argues, Harrison is not part of “the people”

     protected by the Second Amendment because he is not “a law-abiding citizen.” This being

     so, the government argues, the burden never shifts to it to affirmatively prove that

     restrictions like § 922(g)(3) are part of the historical traditions that define the outer bounds

     of the right to keep and bear arms. And even if it did, there is a historical tradition of

     preventing “presumptively risky” people like felons and the mentally ill from possessing

     firearms, and for purposes of the Second Amendment, concludes the government,

     marijuana users are no different from those because they are similarly “unvirtuous.”

                                               Discussion

I.         18 U.S.C. § 922(g)(3).

               Many people are at least vaguely familiar with the idea that convicted felons can’t

     possess a firearm. 18 U.S.C. § 922(g)(1) is the federal statute making such firearm

     possession unlawful, and prosecutions under that subsection make up the overwhelming

     majority of prosecutions brought under § 922 (about 79%). 3 But § 922 contains many

     lesser-known provisions that prohibit other classes of people from possessing or receiving

     a firearm. 18 U.S.C. § 922(g)(3), the prohibition at issue here, for example, prohibits

     possession of firearms by users of substances made unlawful by the federal Controlled

     Substances Act. It is rarely used by prosecutors, as it accounts for only about 5% of

     prosecutions brought under § 922. 4


     3
      United States Sentencing Commission, What Do Federal Firearms Offenses Really Look
     Like? 24 (July 2022).
     4
         Id.


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          Section 922(g)(3) does not have deep roots; it wasn’t enacted by Congress until the

Gun Control Act of 1968. 5 The statute initially prohibited any individual who was “an

unlawful user of or addicted to marihuana or any depressant or stimulant drug . . . or

narcotic drug” from receiving a firearm, 6 but it was amended in 1986 to broadly prohibit

the receipt or possession of a firearm by any person who “is an unlawful user of or addicted

to any controlled substance (as defined in section 102 of the Controlled Substances Act (21

U.S.C. 802)).” 7 In its modern form, § 922(g)(3) thus strips a person of their fundamental

right to possess a firearm the instant the person becomes an “unlawful user” of marijuana.

And in the United States’ view, all users of marijuana are “unlawful users.”

II. Second Amendment.

      A. New York State Rifle & Pistol Association, Inc. v. Bruen.

          The Second Amendment to the United States Constitution protects “the right of the

people to keep and bear Arms.” 8 Because the “central component” of this right is individual

self-defense, 9 the Second Amendment guarantees an individual’s right to keep and bear




5
  Gun Control Act of 1968, Pub. L. No. 90-618, § 102, 82 Stat. 1213, 1220–21. The 1968
act originally placed the prohibition in subsection (h)(3). The Firearm Owners’ Protection
Act, enacted in 1986, reorganized the prohibition to its modern location in subsection
(g)(3).
6
    Id.
7
 Firearm Owners’ Protection Act, Pub. L. No. 99-308, §§ 102(6)(B), (D), 100 Stat. 449,
452 (1986).
8
    U.S. Const. amend. II.
9
    District of Columbia v. Heller, 554 U.S. 570, 599 (2008).


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arms for self-defense, 10 a conclusion the Supreme Court reached after examining the text

and history of the Second Amendment in District of Columbia v. Heller. 11 But after Heller,

federal courts strayed from that textual and historical approach and “coalesced around a

‘two-step’ framework for analyzing Second Amendment challenges that combine[d]

history with means-end scrutiny.” 12

         The Supreme Court flatly rejected that approach in New York State Rifle & Pistol

Association, Inc. v. Bruen, holding that the lower courts’ two-step framework was “one

step too many.” 13 The Court thus explained that

         [w]hen the Second Amendment’s plain text covers an individual’s conduct,
         the Constitution presumptively protects that conduct. The government must
         then justify its regulation by demonstrating that it is consistent with the
         Nation’s historical tradition of firearm regulation. Only then may a court
         conclude that the individual’s conduct falls outside the Second Amendment’s
         “unqualified command.” 14

         This motion is one of a flood of motions that have been filed in this district and

nationwide challenging the constitutionality of various subparts of 18 U.S.C. § 922 in light

of Bruen’s directive that lower courts change their ways. No longer should lower courts

evaluating firearm restrictions “defer to the determinations of legislatures,” because while



10
     Bruen, 142 S. Ct. at 2122.
11
  554 U.S. 570 (2008). See Bruen, 142 S. Ct. at 2128–29; Heller v. District of Columbia,
670 F.3d 1244, 1273 (D.C. Cir. 2011) (Kavanaugh, J., dissenting) (“Heller established that
the scope of the Second Amendment right—and thus the constitutionality of gun bans and
regulations—is determined by reference to text, history, and tradition.”).
12
     Bruen, 142 S. Ct. at 2125.
13
     Id. at 2127.
14
     Id. at 2129–30 (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 49 n.10 (1961)).


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“that judicial deference to legislative interest balancing is understandable—and, elsewhere,

appropriate—it is not the deference that the Constitution demands.” 15 And while “end-

justifies-the-means” rationalizations should generally be understood as antithetical to the

rule of law, Bruen now leaves no doubt that such rationalizations have no place in our

Second Amendment jurisprudence.

         The question here is thus whether stripping someone of their right to possess a

firearm solely because they use marijuana is consistent with the Nation’s historical

tradition of firearm regulation. If it is not, then § 922(g)(3) cannot be constitutionally

applied to Harrison—no matter the reasonableness of the policy it embodies.

      B. The Second Amendment’s plain text covers Harrison’s conduct.

         The first step is to determine whether the Second Amendment’s plain text covers

Harrison’s conduct of possessing a handgun. It does. To be clear, the United States argues

that the relevant conduct is “keeping and bearing arms as an unlawful drug user or

addict,” 16 but there are problems with that characterization. Though Harrison was found

while carrying his firearm, he has been charged under a statute that criminalizes mere

possession, so at trial the United States would have to prove only that Harrison possessed

the gun—the fact he was carrying or “bearing” the firearm would not matter for purposes

of conviction. Accordingly, for purposes of analyzing § 922(g)(3), the relevant conduct is

possessing or “keeping” a firearm, rather than carrying or “bearing” a firearm.



15
     Id. at 2131.
16
     United States’ Resp. (Dkt. 25), at 20 (emphasis added).


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       Moreover, the Supreme Court has held that “‘the people’ . . . unambiguously refers

to all members of the political community, not an unspecified subset,” further explaining

that the term refers to “a class of persons who are part of a national community or who

have otherwise developed sufficient connection with this country to be considered part of

that community.” 17 The Court thus concluded that there is a “strong presumption” that the

Second Amendment right to keep and carry handguns publicly for self-defense “belongs

to all Americans.” 18

       No one disputes that Harrison is an American citizen who has resided in the United

States his entire life, which under Supreme Court precedent would make him part of the

“national community,” and thus part of “the people” to whom the Second Amendment

guarantees the right to keep arms. 19 The United States argues, however, that marijuana


17
  Heller, 554 U.S. at 580 (quoting United States v. Verdugo–Urquidez, 494 U.S. 259, 265
(1990)).
18
   Id. at 581; Bruen, 142 S. Ct. at 2156 (“The Second Amendment guaranteed to ‘all
Americans’ the right to bear commonly used arms in public subject to certain reasonable,
well-defined restrictions.”(quoting Heller, 554 U.S. at 581)). See Kanter v. Barr, 919 F.3d
437, 451–53 (7th Cir. 2019) (Barrett, J., dissenting) (“There are competing ways of
approaching the constitutionality of gun dispossession laws. Some maintain that there are
certain groups of people—for example, violent felons—who fall entirely outside the
Second Amendment’s scope. . . . Others maintain that all people have the right to keep and
bear arms but that history and tradition support Congress’s power to strip certain groups of
that right. . . . These approaches will typically yield the same result; one uses history and
tradition to identify the scope of the right, and the other uses that same body of evidence
to identify the scope of the legislature’s power to take it away. In my view, the latter is the
better way to approach the problem. . . . In addition to being analytically awkward, the
‘scope of the right’ approach is at odds with Heller itself. There, the Court interpreted the
word ‘people’ as referring to ‘all Americans.’”).
19
  Cf. United States v. Carrero, No. 2:22-CR-00030, 2022 WL 9348792, at *2 (D. Utah
Oct. 14, 2022) (“This court declines to read ‘the people’ so narrowly. Instead, it follows


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users are lawbreakers, and lawbreakers aren’t part of “the people” whose rights are

protected by the Constitution. 20 But this is precisely the sort of carving out of a subset from

“all Americans” that the Heller Court rejected. 21




courts from within the Tenth Circuit, which have observed that ‘convicted felons fall within
“the people” as contemplated by the First and Fourth Amendments.’ Applying the
presumption of consistent usage, they have ‘decline[d] to carve out felons from the scope
of the Second Amendment’s protection of “the people,”’ and this court does the same.”
(quoting United States v. Coombes, No. 22-CR-00189, --- F. Supp. 3d ----, ----, 2022 WL
4367056, at *4 (N.D. Okla. Sept. 21, 2022)); Coombes, 2022 WL 4367056, at *4 (“[I]t is
clear that convicted felons fall within ‘the people’ as contemplated by the First and Fourth
Amendments. Based on existing precedent and well-established canons of construction,
the court declines to carve out felons from the scope of the Second Amendment’s
protection of ‘the people.’”); United States v. Gray, No. 22-CR-00247-CNS, 2022 WL
16855696, at *2 (D. Colo. Nov. 10, 2022) (“The Court adopts the analysis of its sister
district courts within the Tenth Circuit and finds that Defendant is covered by the Second
Amendment’s plain text.”).
20
   On this point, the United States points to Bruen’s description of the plaintiffs in that case
as “ordinary, law-abiding, and adult citizens.” Bruen, 142 S. Ct. at 2134. But that
description can’t be read as breaking new ground with respect to who make up “the people”
protected by the Second Amendment. First, Bruen noted that it was undisputed that the
plaintiffs in that case were part of the people protected by the Second Amendment, so at
best, the United States is relying on dicta. But even so, the United States is reading too
much into the dicta because immediately after describing the plaintiffs, the Bruen Court
cited Heller’s holding that “the people” includes “all members of the political community,”
not just “an unspecified subset.” Id. (citing Heller, 554 U.S. at 580). Thus, this reference
in dicta to “law-abiding citizens” cannot possibly be read as overturning the very holding
upon which it relies. See Denezpi v. United States, 142 S. Ct. 1838, 1847–48 (2022)
(explaining that stray statements “[r]ead in isolation . . . . cannot overcome the holdings of
our cases, not to mention the text of the Clause”).
21
   Frankly, it’s not even clear this is carving out a “subset,” as much as an outright
declaration of the federal government’s belief that it can deprive practically anyone of their
Second Amendment right. Who among us, after all, isn’t a “lawbreaker”? For sure, there
may well exist some adult who has never exceeded the speed limit, changed lanes without
signaling, or failed to come to a complete stop at a stop sign, but they are few and far
between.


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         Moreover, the United States’ approach shoehorns the government’s historical-

tradition burden onto Bruen’s initial presumption, a presumption based simply on the

Second Amendment’s plain text. Indeed, as support for excluding marijuana users from

“the people,” the government relies on a purported historical tradition of regulating firearm

use by felons, intoxicated persons, and the mentally ill. But Bruen makes clear that the first

step is one based solely on the text of the Second Amendment to determine if it

presumptively protects an individual’s conduct—a presumption that the United States can

then rebut with history and tradition. Here, because the Second Amendment’s plain text

covers Harrison’s conduct—possessing a handgun for self-defense—“the Constitution

presumptively protects that conduct.” 22

      C. Applying § 922(g)(3) to Harrison is inconsistent with the Nation’s historical
         tradition of firearm regulation.

         Given that the Second Amendment presumptively protects Harrison’s conduct, the

burden shifts to the United States to demonstrate that prohibiting marijuana users from

possessing firearms is “consistent with the Nation’s historical tradition of firearm

regulation.”

         This inquiry is “fairly straightforward” when the challenged regulation addresses a

“general societal problem that has persisted since the 18th century,” because there “the lack

of a distinctly similar historical regulation addressing that problem is relevant evidence that

the challenged regulation is inconsistent with the Second Amendment.” 23 And “if earlier


22
     See Bruen, 142 S. Ct. at 2129–30.
23
     Id. at 2131.


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generations addressed the societal problem, but did so through materially different means,”

that too is evidence that the modern regulation is unconstitutional. 24

           But where the challenged regulation implicates “unprecedented societal concerns or

dramatic technological changes,” a “more nuanced approach” might be required. 25 Given

the novelty of the societal concern, it would be impossible to identify a “historical twin” to

the challenged law, so the United States need not do so. 26 But it still must identify a

historical tradition of laws that are sufficiently analogous, and that turns on whether the

historical laws “impose[d] a comparable burden on the right of armed self-defense” and

were “comparably justified.” 27 Because “[c]onstitutional rights are enshrined with the

scope they were understood to have when the people adopted them,” historical analogues

in existence near the time the Second Amendment was adopted in 1791 are of primary

relevance. 28

24
     Id.
25
     Id. at 2132.
26
  Id. at 2133. While the job of performing these comparisons is necessarily left to the lower
courts, Bruen provided one instructive example of historical laws that might be sufficiently
analogous to a modern restriction, despite not being a “twin.” Historical laws restricting
the carrying of firearms in “sensitive places” like “legislative assemblies, polling places,
and courthouses” were generally accepted as lawful, so modern restrictions restricting
carrying in new “sensitive places” (an airport, for example) might well be lawful also. Id.
Thus, despite not being an exact match to the historical law, the modern law would pass
muster so long as it imposed a comparable burden and was comparably justified.
27
  Id. (internal quotations and citations omitted). Importantly, this analysis “does not mean
that courts may engage in independent means-end scrutiny under the guise of an analogical
inquiry.” Id. at 2133 n.7.
28
  Id. at 2136 (quoting Heller, 554 U.S. at 634–35) (emphasis in original). Bruen explained
that “[t]he job of judges is not to resolve historical questions in the abstract; it is to resolve
legal questions presented in particular cases or controversies.” Id. at 2130 n.6 (emphasis in


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         Here, the societal problem addressed by § 922(g)(3), possession of firearms by users

of substances with the potential for abuse, 29 is not new. The United States’ reliance on

historical prohibitions on the carrying of firearms by intoxicated persons (more on that

later) proves the point. Those historical prohibitions are the product of our Nation’s long

history of people using substances that might intoxicate and impair judgment. Yet the

United States has not identified a single historical law that is “distinctly similar” to §

922(g)(3)—which Bruen suggests is dispositive. 30 The United States instead relies solely

on laws that are admittedly distinct, but, in its view, close enough for purposes of the

analogical reasoning utilized when examining regulations aimed at novel societal

problems. But even if the possession of firearms by users of certain substances were a

brand-new societal problem, the United States’ historical evidence falls short.

            1. Categories of Presumptively Risky Persons.

        The United States first argues that § 922(g)(3) is sufficiently analogous to historical

regulations on three categories of “presumptively risky persons”: the intoxicated, convicted




original). This legal inquiry is guided by “evidentiary principles and default rules,”
including the principle of party presentation. Id. (quoting William Baude & Stephen E.
Sachs, Originalism and the Law of the Past, 37 L. & Hist. Rev. 809, 810–11 (2019)). The
Court will thus decide this legal question based on the arguments and historical record the
parties have compiled in their respective briefs and during oral argument. See id. (“[I]n our
adversarial system of adjudication, we follow the principle of party presentation. Courts
are thus entitled to decide a case based on the historical record compiled by the parties.”)
(internal quotations and citations omitted).
29
  Potential for abuse is the driving factor when it comes to whether a substance is
“controlled” under the Controlled Substances Act. See 21 U.S.C. § 811.
30
     See Bruen, 142 S. Ct. at 2131.


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felons, and the mentally ill. But none of these “identify a well-established and

representative historical analogue” to § 922(g)(3)’s application to Harrison. 31

      a. Historical Restrictions on Intoxicated Persons.

        To begin, the United States points to seven laws—one 1655 law from colonial

Virginia and six state or territorial laws enacted between 1868 and 1899—that it argues

“categorically prohibit[ed]” the intoxicated “from possessing firearms.” 32 But the

government overstates its case. The laws it relies on materially differ from the application

of § 922(g)(3) to Harrison in regard to both of Bruen’s “central consideration[s]”: “the



31
     See id. at 2133 (emphasis omitted).
32
   United States’ Resp. (Dkt. 25), at 30–31. For purposes of the Second Amendment
analysis, the Court assumes, without deciding, that these seven historical laws were
consistent with the Second Amendment’s original meaning. Historical regulations are, of
course, only significant for purposes of determining the original meaning of the Second
Amendment to the extent that the jurisdictions that enacted the regulations also recognized
an individual right to keep and bear arms. The Second Amendment was not in place when
the 1655 Virginia law was enacted—the English Bill of Rights wasn’t either. Nor was the
Second Amendment incorporated against the states at the time the six post-Civil War laws
were enacted. See State v. Shelby, 2 S.W. 468, 469 (Mo. 1886) (rejecting a Second
Amendment challenge to the Missouri law discussed below on the grounds that “[t]he
second amendment to the constitution of the United States is a restriction upon the powers
of the national government only, and is not a restriction upon state legislation”); see also
United States v. Cruikshank, 92 U.S. 542, 553 (1875). The United States has not attempted
to demonstrate whether the six states or territories who passed these laws recognized an
individual right to keep and bear arms under their respective state constitutions. Having
done the work itself, however, the Court found at least one state high court that concluded
one of these laws was consistent with the state constitution’s individual right to bear arms
guarantee. See Shelby, 2 S.W. at 468–69. And at least one modern jurist applying a text,
history, and tradition test, and relying on some of the laws identified by the United States,
found an Ohio law prohibiting a “person, while under the influence of alcohol or any drug
of abuse,” from carrying or using any firearm consistent with the Second Amendment. See
State v. Weber, 168 N.E.3d 468, 489–96 (Ohio 2020) (DeWine, J., concurring in judgment)
(emphasis added).


                                             13
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burden on the right of armed self-defense” imposed by the regulation and the justification

for the burden. 33

        Start with comparing the burden each of these laws placed on the right of armed self-

defense vis-à-vis the burden imposed by § 922(g)(3). The seven laws the United States

identifies imposed a far narrower burden and, as a result, left ample room for the exercise

of the core right to armed self-defense. First, the restrictions imposed by each law only

applied while an individual was actively intoxicated or actively using intoxicants. 34 Under

these laws, no one’s right to armed self-defense was restricted based on the mere fact that


33
     Bruen, 142 S. Ct. at 2133.
34
    1 William Waller Hening, The Statutes at Large: Being a Collection of All the Laws of
Virginia, from the First Session of the Legislature, in the Year 1619 401–02, Act XII (1823)
(prohibiting “shoot[ing] any gunns at drinkeing (marriages and ffuneralls onely [sic]
excepted)”); General Statutes of the State of Kansas 378, ch. 31, § 282 (John M. Price et
al. eds., 1868) (“[A]ny person under the influence of intoxicating drink . . . carrying on his
person a pistol . . . or other deadly weapon, shall be subject to arrest upon charge of
misdemeanor[.]”); Revised Code of the Statute of Laws of the State of Mississippi 776, ch.
77, § 2986 (J.A.P. Campbell ed., 1880) (“It shall not be lawful for any person to sell to any
. . . person intoxicated, knowing him to be . . . in a state of intoxication” any concealable,
deadly weapon.); Supplement to the Revised Statutes of Wisconsin 848, ch. 181, § 4397b(3)
(A. L. Sanborn & J. R. Berryman eds., 1883) (“It shall be unlawful for any person in a state
of intoxication to go armed with any pistol or revolver.”); 1 Revised Statutes of the State of
Missouri 854, ch. 47, § 3502 (Samuel C. Major et al. eds., 1889) (“If any person . . . shall
have or carry any [deadly or dangerous weapon] upon or about his person when intoxicated,
or under the influence of intoxicating drinks . . . shall, upon conviction, be punish by a fine
. . . or by imprisonment[.]”); Statutes of Oklahoma 1890 495, ch. 25, art. 47, § 4 (Will T.
Little et al. eds., 1891) (prohibiting “any public officer” from “carrying” certain specified
arms, including a pistol or revolver, “while under the influence of intoxicating drinks”); 2
Code of Laws of South Carolina 318, ch. 12, § 252 (1902) (“Code of Laws of South
Carolina”) (“Any person who shall, without just cause or excuse, or while under the
influence, or feigning to be under the influence, of intoxicating liquors, engaged in any
boisterous conduct, or who shall, without just cause or excuse, discharge any gun, pistol or
other firearm while upon or within fifty yards of any public road or highway, except upon
his own premises, shall be guilty of a misdemeanor[.]”) (all emphases added).


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he or she was a user of intoxicants. 35 Second, none of the laws appear to have prohibited

the mere possession of a firearm. 36 Third, far from being a total prohibition applicable to

all intoxicated persons in all places, all the laws appear to have applied to public places or

activities (or even a narrow subset of public places), 37 and one only applied to a narrow


35
  When asked at argument whether the United Sates was “able to find even a single law
that prohibited a person, not [an] intoxicated person, but a person who uses intoxicants,
even when sober, from possessing a gun,” counsel for the United States responded “No.”
Tr. of Oral Arg. (Dkt. 35), at 37.
36
   Three of the laws clearly only prohibited carrying a firearm. Little et al., supra note 34,
at 495 (“carrying”); Sanborn & Berryman, supra note 34, at 848 (“to go armed”); Price et
al., supra note 34, at 378 (“carrying”). Two laws seem to have even permitted carrying but
prohibited discharging the firearm. Hening, supra note 34, at 401–02 (“shoot[ing] any
gunns at drinkeing (marriages and ffuneralls onely [sic] excepted)”); Code of Laws of
South Carolina, supra note 34, at 318 (“discharge any gun, pistol or other firearm while
upon or within fifty yards of any public road or highway, except on his own premises”).
And one law prohibited only the sale of firearms to persons intoxicated and did not regulate
the intoxicated person’s carry, possession, or use. Campbell, supra note 34, at 776. The
one possible exception is the Missouri law, which made it unlawful for “any person” to
“have or carry any [deadly or dangerous weapon] upon or about his person when
intoxicated, or under the influence of intoxicating drinks.” Major et al., supra note 34, at
854 (emphasis added). But the broader context of that provision seems to suggest that it
only applied to “having” a firearm in a public place, i.e., carrying the firearm, and even
then, the law may have provided an exception for self-defense. Shelby, 2 S.W. at 469
(describing the law as targeting “[t]he mischief to be apprehended from an intoxicated
person going abroad with fire-arms”). In any event, even if the Missouri law did prohibit
possession even in the home, one law cannot possibly create a constitutionally significant,
“well-established” historical tradition. See Bruen, 142 S. Ct. at 2133, 2142. And even if it
could, the law would have prohibited possession only while a person was actively
intoxicated or actively using intoxicants.
37
    The carry laws would have only applied to public places, and at least one of the laws
only applied to certain public places. See Code of Laws of South Carolina, supra note 34,
at 318 (prohibiting the “discharge [of] any gun, pistol or other firearm while upon or within
fifty yards of any public road or highway, except on his own premises”) (emphasis added);
see also Little et al., supra note 34, at 496, ch. 25, art. 47, § 7 (not identified by the United
States, but prohibiting carrying a firearm into “any place where intoxicating liquors are
sold”). Little is known about the 1655 Virginia law, but it appears that “shoot[ing] any


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subset of intoxicated persons. 38 Importantly, none appear to have prohibited the possession

of a firearm in the home for purposes of self-defense.

       Where the seven laws the United States identifies took a scalpel to the right of armed

self-defense—narrowly carving out exceptions but leaving most of the right in place—§

922(g)(3) takes a sledgehammer to the right. Recall that § 922(g)(3) imposes the most

severe burden possible: a total prohibition on possessing any firearm, in any place, for any

use, in any circumstance—regardless of whether the person is actually intoxicated or under

the influence of a controlled substance. 39 It is a complete deprivation of the core right to

possess a firearm for self-defense, turning entirely on the fact that an individual is a user

of marijuana. Section 922(g)(3)’s “burden on the right of armed self-defense” is thus not

“comparable” to the seven historical intoxication laws. 40


gunns at drinkeing” referred to a social activity, and the law specifically carved out
shooting and drinking at weddings and funerals.
38
  The Oklahoma law, for example, only applied to “public officer[s],” leaving the rest of
the intoxicated public untouched. Little et al., supra note 34, at 495.
39
  See 27 C.F.R. § 478.11 (“Such use is not limited to the use of drugs on a particular day,
or within a matter of days or weeks before . . . . A person may be an unlawful current user
of a controlled substance even though the substance is not being used at the precise time
the person seeks to acquire a firearm or receives or possesses a firearm.”).
40
  Bruen, 142 S. Ct. at 2133. The United States suggests that § 922(g)(3) imposes a narrow
burden on the right to possess a firearm because it does not permanently deprive the
marijuana user of the right. Rather, a person may regain their right to possess a firearm by
stopping their use of marijuana. But while theoretically impermanent, the deprivation
imposed by § 922(g)(3) is significantly greater than the historical intoxication laws because
even if one stops their use of a controlled substance, they could be deprived of their right
to armed self-defense for up to a year after their last use. See 27 C.F.R. § 478.11 (“An
inference of current use may be drawn from evidence of a recent use or possession of a
controlled substance or a pattern of use or possession that reasonably covers the present
time, e.g., a conviction for use or possession of a controlled substance within the past year


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       The justifications for these laws also differ substantially from § 922(g)(3). The only

pre-Civil War law the United States points to—the most relevant period under Bruen 41—

is the 1655 Virginia law. But as the law itself explained, the justification for the restriction

was the fear that the “frequent shooting of gunns [sic] in drinking” would inhibit the ability

of the colonists to defend against Indian attacks by (1) drowning out warning shots, which

were “the only means for the discovery of [Indian] plots” to attack, and (2) by wasting gun

powder “in vaine [sic]” that was essential to the militia’s ability to fight off Indian attacks. 42

So, unlike § 922(g)(3), which is justified by concerns that marijuana users are

“presumptively risky persons” who accordingly should never possess a gun for any purpose

at any time (even when they are sober), the Virginia law’s justification had nothing to do

with the status of the persons firing the guns or even the fact that they were intoxicated.

The six post-Civil War laws were also based on a different justification than § 922(g)(3).

Each was concerned with the danger of persons who were actively intoxicated or actively




. . . or persons found through a drug test to use a controlled substance unlawfully, provided
that the test was administered within the past year.”). The deprivation imposed by the
historical intoxication laws, on the other hand, ceased the moment the person sobered up.
41
  See Bruen, 142 S. Ct. at 2136; id. at 2163 (Barrett, J., concurring) (“[T]oday’s decision
should not be understood to endorse freewheeling reliance on historical practice from the
mid-to-late 19th century to establish the original meaning of the Bill of Rights. On the
contrary, the Court is careful to caution against giving postenactment history more weight
than it can rightly bear.” (internal quotation marks omitted)).
42
  Hening, supra note 34, at 401–02. See Ann E. Tweedy, “Hostile Indian Tribes, Outlaws,
Wolves, Bears, Grizzlies and Things Like That?” How the Second Amendment and
Supreme Court Precedent Target Tribal Self-Defense, 13 U. Pa. J. Const. L. 687, 698
(2011).


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using intoxicants, 43 and none imposed restrictions on a user of intoxicants when they were

sober.

         The United States also points to a New York law from the colonial era that was

passed “for the prevention” of “great Damages . . . frequently done” around the New Year’s

holiday “by persons going from House to House, with Guns and other Fire Arms and being

often intoxicated with Liquor.” 44 The law appears to have prohibited all persons from

“fir[ing] or discharg[ing] any Gun . . . in any House Barn or other Building or before any




43
   Hening, supra note 34, at 401–02 (prohibiting “shoot[ing] any gunns at drinkeing [sic]”);
Price et al., supra note 34, at 378 (“[A]ny person under the influence of intoxicating drink
. . . carrying on his person a pistol . . . or other deadly weapon, shall be subject to arrest
upon charge of misdemeanor[.]”); Campbell, supra note 34, at 776 (“It shall not be lawful
for any person to sell to any . . . person intoxicated, knowing him to be . . . in a state of
intoxication” any concealable, deadly weapon.); Sanborn & Berryman, supra note 34, at
848 (“It shall be unlawful for any person in a state of intoxication to go armed with any
pistol or revolver.”); Major et al., supra note 34, at 854 (“If any person . . . shall have or
carry any [deadly or dangerous weapon] upon or about his person when intoxicated, or
under the influence of intoxicating drinks . . . shall, upon conviction, be punish by a fine .
. . or by imprisonment[.]”); Little et al., supra note 34, at 495 (prohibiting “any public
officer” from “carrying” certain specified arms, including a pistol or revolver, “while under
the influence of intoxicating drinks”); Code of Laws of South Carolina, supra note 34, at
318 (“Any person who shall, without just cause or excuse, or while under the influence, or
feigning to be under the influence, of intoxicating liquors, engaged in any boisterous
conduct, or who shall, without just cause or excuse, discharge any gun, pistol or other
firearm while upon or within fifty yards of any public road or highway, except upon his
own premises, shall be guilty of a misdemeanor[.]”) (all emphases added). Again, at
argument, the United States conceded that it has been unable to identify a single pre-
twentieth century law that prohibited the possession of firearms by a person who used
intoxicants even when that person was sober. See Tr. of Oral Arg. (Dkt. 35), at 37.
44
  5 The Colonial Laws of New York from the Year 1664 to the Revolution 244, ch. 1501,
(1894) (“Colonial Laws of New York”).


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Door or in any Garden, Street, Lane or other Inclosure [sic] on” the “eve of the last Day of

December, and on the first and second Days of January.” 45

         The United States’ reliance on this law is unclear: It includes the law as an example

of “state laws [that] have historically prohibited carrying a firearm while under the

influence of alcohol.” 46 But as explained above, the law applied to all persons, not just

intoxicated persons or those who use intoxicants. 47 And it is difficult to see how this law

could indicate any sort of “well-established,” 48 constitutionally relevant tradition of

regulation: The law was in effect for only two years, applied to only certain places in one

county and two towns, and restricted the discharge of firearms for only three days a year.




45
     Id. at 245.
46
     United States’ Resp. (Dkt. 25), at 30.
47
  The law purported to apply to “any Person or Persons of any Age or Quality whatsoever.”
Colonial Laws of New York, supra note 44, at 245. It seems doubtful that such a law would
even be constitutional today. To the extent that the law actually prohibited the entirety of
the non-intoxicated public from using firearms for purposes of self-defense, it would
almost certainly be unconstitutional under Heller and Bruen. Although not identified by
the United States, it appears that New York passed a somewhat similar law in 1785. See
The Laws of the State of New York Compromising the Constitution, and the Acts of the
Legislature, Since the Revolution, From the First to the Fifteenth Session 188–89, ch.
LXXXI (Thomas Greenleaf ed., 1792). That law remarkably makes no reference to alcohol
or intoxication at all, stating merely that “great dangers have arisen, and mischief been
done by the pernicious practice of firing guns, pistols, rockets, squibs and other fire-works,
on the eve of the last day of December, and first and second days of January.” Id. This
latter law seems to confirm that the New Years-related laws had little to do with the
intoxicated status of the person firing or discharging a firearm, further weakening any
attempt to rely on the laws as analogues to § 922(g)(3).
48
     Bruen, 142 S. Ct. at 2133.


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      b. Convicted Felons.

        Next, the United States argues that § 922(g)(3) is analogous to the Nation’s “deeply

rooted” tradition of disarming convicted felons because unlawful users of controlled

substances have engaged in felonious conduct (because they must possess the substance in

order to use it, and possession is a felony under the Controlled Substances Act), even if

never prosecuted and convicted for that conduct. 49

        But § 922(g)(3) is quite different from even modern felon-in-possession statutes. For

starters, the laws significantly differ in the process by which one is deprived of the right to

armed self-defense. Section 922(g)(1), the modern federal felon-in-possession provision,

only prohibits possession of a firearm after an individual has been convicted of a felony

offense. 50 The deprivation of the fundamental right thus occurs only after an individualized,

adversarial proceeding that complies with the requirements of due process. Section

922(g)(3), however, is an outlier in our legal tradition in that it deprives persons of a

fundamental right with no pre-deprivation process. Process is only afforded after the fact,

and only to a tiny fraction of those whose rights have been stripped—those that the United

States has selected for prosecution and punishment.

         But even if after-the-deprivation process is sufficiently analogous to pre-deprivation

process, under Bruen the question then becomes whether prohibiting a person from

possessing a firearm solely on the basis of engaging in felonious conduct—i.e., they use



49
     United States’ Resp. (Dkt. 25), at 29.
50
     18 U.S.C. § 922(g)(1).


                                               20
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marijuana—“is consistent with this Nation’s historical tradition of firearm regulation.” 51

It is to that question the Court now turns.

        i.       Heller did not answer the question in this case.

        The United States insists that Heller deemed all restrictions on the possession of

firearms by those who engage in felonious conduct consistent with the Second

Amendment, so there’s no need to engage in Bruen’s historical-tradition analysis. Heller,

however, did no such thing; it instead said something more restrained, that “nothing in our

opinion should be taken to cast doubt on longstanding prohibitions on the possession of

firearms by felons”—hardly an endorsement of any and all such prohibitions dreamed up

by modern legislatures. 52 And even then, the Court did not place an absolute stamp of

approval on such prohibitions: those prohibitions are merely “presumptively lawful,” 53

implying that some could be unconstitutional in some circumstances. 54 Nor did the Heller


51
     Bruen, 142 S. Ct. at 2126.
52
   Heller, 554 U.S. at 626 (emphasis added). See Folajtar v. Att’y Gen. United States of
Am., 980 F.3d 897, 913 (3d Cir. 2020) (Bibas, J., dissenting) (“Heller limited its remark to
‘longstanding’ bans. Longstanding bans are centuries old, not within living memory.”).
53
  Heller, 554 U.S. at 627 n.26. See Folajtar, 980 F.3d at 913 (Bibas, J., dissenting)
(“Heller’s aside also described the bans as only presumptively lawful.” (cleaned up)).
54
  United States v. Williams, 616 F.3d 685, 692 (7th Cir. 2010) (“Heller referred to felon
disarmament bans only as ‘presumptively lawful,’ which, by implication, means that there
must exist the possibility that the ban could be unconstitutional in the face of an as-applied
challenge.”). Cf. United States v. Torres-Rosario, 658 F.3d 110, 113 (1st Cir. 2011). Even
pre-Bruen cases that narrowly construed the right recognized by Heller implicitly
recognized this very point. Take, for example, several pre-Bruen as-applied challenges to
the federal felon-in-possession law, § 922(g)(1), which, far from merely quoting Heller’s
“longstanding prohibitions on the possession of firearms by felons” language and moving
on, went on to determine whether applying the law was constitutional in the context of the
particular underlying felony at issue. See, e.g., Binderup v. Att’y Gen. United States of Am.,


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Court say anything about prohibitions on those who have engaged in conduct that may be

felonious, rather than prohibitions on felons (i.e., those previously convicted of a felony).

        The first caveat, that the prohibition on possession by a felon be longstanding, makes

sense. If not for this limitation, a legislature could circumvent the Second Amendment by

deeming every crime, no matter how minor, a felony, so as to deprive as many of its citizens

of their right to possess a firearm as possible. Imagine a world where the State of New

York, to end-run the adverse judgment it received in Bruen, could make mowing one’s

lawn a felony so that it could then strip all its newly deemed “felons” of their right to

possess a firearm. 55 The label “felony” is simply “too easy for legislatures and prosecutors

to manipulate.” 56

        Remarkably, when presented with this lawn-mowing hypothetical argument, and

asked if such an approach would be consistent with the Second Amendment, the United



836 F.3d 336, 351 (3d Cir. 2016) (en banc) (holding that the challengers’ crimes, which
met Congress’s definition of a felony for purposes of § 922(g)(1), “were not serious enough
[crimes] to strip [the challengers] of their Second Amendment rights”); id. at 360
(Hardiman, J., concurring in part & concurring in judgments); Kanter, 919 F.3d at 454
(Barrett, J., dissenting) (“I agree with the majority that Heller’s dictum does not settle the
question before us.”). The same is true for challenges to other § 922(g) provisions. See,
e.g., United States v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (en banc) (noting that this
language in Heller is “not dispositive”).
55
  While this hypothetical may seem far-fetched, it captures the broader point that “today,
a felony is whatever the legislature says it is. The category is elastic, unbounded, and
manipulable by legislatures and prosecutors.” Folajtar, 980 F.3d at 921 (Bibas, J.,
dissenting). In Oklahoma, for example, adultery is a felony punishable by up to five years’
imprisonment. Okla. Stat. tit. 21, § 872. Examples in other states include opening a bottle
of ketchup at the store and placing it back on the shelf or reading someone else’s email
without permission. See Folajtar, 980 F.3d at 921 (Bibas, J., dissenting).
56
     Folajtar, 980 F.3d at 920 (Bibas, J., dissenting).


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States said “yes.” 57 So, in the federal government’s view, a state or the federal government

could deem anything at all a felony and then strip those convicted of that felony—no matter

how innocuous the conduct—of their fundamental right to possess a firearm. 58 Why?

Because courts must defer to a legislature’s judgments about what is and is not a felony,

says the United States. It’s as if Bruen’s command regarding the inappropriateness of such

deference to legislative judgments has been lost in translation. 59 In a sense, one must

applaud the United States for its steadfast commitment to its legal position. But “giv[ing]

legislatures unreviewable power to manipulate the Second Amendment by choosing a

label” 60 is inconsistent with the entire point of constitutionalizing a fundamental right in

the first place: to restrain a legislature’s ability to infringe that right through legislation. 61

What would remain of the Second Amendment if the Court were to accept the United

States’ view that a legislature could prohibit the exercise of the right it protects simply by



57
     Tr. of Oral Arg. (Dkt. 35), at 52–53.
58
  Bear in mind that the United States’ theory would likewise allow Congress to add any
substances it wishes to Schedule I of the Controlled Substances Act’s schedule of drugs,
and then disarm citizens of their right to possess a firearm based on their use of that
substance. Imagine Congress deeming aspirin a Schedule I controlled substance. Having
placed aspirin on Schedule I, any user of that substance would be automatically stripped of
their Second Amendment right by operation of § 922(g)(3).
59
     See 142 S. Ct. at 2131.
60
   Folajtar, 980 F.3d at 912 (Bibas, J., dissenting). See id. at 920 (“Disarming all felons not
only ignores history, but also gives legislatures unfettered power over a fundamental
right.”).
61
  Heller, 554 U.S. at 636 (“[T]he enshrinement of constitutional rights necessarily takes
certain policy choices off the table.”). See id. at 634–35 (“Constitutional rights are
enshrined with the scope they were understood to have when the people adopted them,
whether or not future legislatures or (yes) even future judges think that scope too broad.”).


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declaring anything or everything a felony? Nothing. Maybe that is what the federal

government desires, but it is hardly what the Constitution requires. 62

      ii.    There is no historical tradition of disarming a person solely based on that
             person having engaged in felonious conduct.

      What common sense suggests, our Nation’s history and tradition of firearm

regulation confirms: Whether a law burdening the right to keep and bear arms is consistent

with the Second Amendment does not turn on legislative labels, but rather on the actual

nature of the societal problem the law is designed to address and the actual burdens that

the law imposes.

      Recall that Heller and Bruen instructed that the scope of the Second Amendment is

defined by the understanding of the right by the people who adopted it. 63 But as far as the

Court is aware, no scholar has been able to identify a single colonial or state law in

seventeenth, eighteenth, or nineteenth-century America that prohibited a person from

possessing any firearm merely because that person engaged in conduct that a legislature

has labeled as felonious. 64 Nor has the United States pointed to any such laws here. And


62
   Heller itself rejected a very similar argument, explaining that an interpretation of the
Second Amendment that would give Congress plenary power to exclude large groups of
citizens from the scope of the right would be inconsistent with the historical underpinnings
of the Second Amendment and the concerns of the founding generation. See 554 U.S. at
599–600.
63
  See Bruen, 142 S. Ct. at 2136 (“Constitutional rights are enshrined with the scope they
were understood to have when the people adopted them.” (quoting Heller, 554 U.S. at 634–
635) (emphasis in original)).
64
  See Carlton F.W. Larson, Four Exceptions in Search of A Theory: District of Columbia
v. Heller and Judicial Ipse Dixit, 60 Hastings L.J. 1371, 1374 (2009); C. Kevin
Marshall, Why Can’t Martha Stewart Have A Gun?, 32 Harv. J. L. & Pub. Pol’y 695, 708


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while the laws it does point to don’t go nearly that far, the United States nonetheless argues

that they establish a history and tradition of stripping people of their Second Amendment

right for engaging in any conduct that a legislature says is felonious. The analogy, however,

falls apart under scrutiny.

       Thomas Cooley. The United States first relies on a 1983 article by Robert Dowlut.

In a single, three-sentence paragraph, Dowlut argued that “Colonial and English societies

of the eighteenth century . . . excluded . . . felons” from the right to keep and bear arms. 65

Dowlut’s article, however, does not discuss or cite a single seventeenth, eighteenth, or

nineteenth-century law or case demonstrating that point. 66 In fact, he relies on a lone source

for this proposition: the 1903 edition of Thomas Cooley’s famed treatise on state

constitutional law. 67 Elsewhere in its brief, the United States relies on the same Cooley


(2009) (“Though recognizing the hazard of trying to prove a negative, one can with a good
degree of confidence say that bans on convicts possessing firearms were unknown before
World War I.”); Kanter, 919 F.3d at 454 (Barrett, J., dissenting) (“The best historical
support for a legislative power to permanently dispossess all felons would be founding-era
laws explicitly imposing—or explicitly authorizing the legislature to impose—such a ban.
But at least thus far, scholars have not been able to identify any such laws.”); Folajtar, 980
F.3d at 912, 914–15 (Bibas, J., dissenting).
65
  United States’ Resp. (Dkt. 25), at 29 (quoting Robert Dowlut, The Right to Arms: Does
the Constitution or Predilection of Judges Rein?, 36 Okla. L. Rev. 65, 96 (1983)).
66
  The accompanying footnote cites three nineteenth-century southern state constitutions,
but those sources are cited merely for the proposition that the right was limited to free white
men prior to the enactment of the Fourteenth Amendment. See Dowlut, supra note 65, at
96 n.147. These sources say nothing about felons.
67
  Id. The first edition of Cooley’s treatise was initially published in 1868, and as such, has
long been considered a helpful source in interpreting the state of American constitutional
law at the time of the Fourteenth Amendment’s enactment. It is the 1868 edition that the
United States relies on elsewhere in its brief. See United States’ Resp. (Dkt. 25), at 28. The
quotations below are taken from the 1868 edition. But to be clear, in the passages relevant


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passage, which it claims stands for the proposition that “certain persons—namely, ‘the

idiot, the lunatic, and the felon, on obvious grounds’—had long been ‘almost universally

excluded’ from exercising certain civic rights in America, including the right to bear

arms.” 68

         The problem is that the Cooley passage doesn’t actually say anything about the right

to keep and bear arms. 69 Instead, the passage falls in the middle of Cooley’s discussion of

who may “participat[e] in the government”—that is, who may hold office or “exercise the

elective franchise.” 70 Cooley’s point in the passage is that “in every State, although all

persons are under the protection of the government, and obliged to confirm their action to

its laws, there are some who are altogether excluded from participation in the

government.” 71 His reference to “the idiot, the lunatic, and the felon”—the passage the

United States and Dowlut rely on—comes in reference to “[c]ertain classes [that] have been

almost universally excluded” from voting because “they lack either the intelligence, the

virtue, or the freedom of action essential to the proper exercise of the elective franchise.” 72

While this passage may suggest a tradition of stripping felons of their right to vote, it does


to this case, there are no material distinctions between the 1868 edition and the 1903 edition
cited by Dowlut.
68
     United States’ Resp. (Dkt. 25), at 29.
69
  Tellingly, Cooley does have a passage exclusively devoted to the right to keep and bear
arms; that passage says nothing about the exclusion of felons. See Thomas M. Cooley, A
Treatise on the Constitutional Limitations Which Rest Upon the Legislative Power of the
States of the American Union 350 (Lawbook Exch. ed. 2011) (1868).
70
     Id. at 28–29. See Marshall, supra note 64, at 709.
71
     Cooley, supra note 69, at 28.
72
     Id. at 29 (emphasis added).


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nothing to prove a tradition of stripping Second Amendment rights from those who have

engaged in felonious conduct. 73

           Founding-Era Punishments for Felonies and Ratification Convention Proposals.

The United States next relies on a paragraph in a 1983 article by Don Kates, where Kates

argued “that the Founders” did not “intend[] to confer” the Second Amendment right upon

felons. 74 Kates, however, does not cite a single Founding-era law or case supporting this

proposition. Instead, he supports the proposition elsewhere in the paragraph by appealing

to two arguments: (1) that because the “law punished felons with automatic forfeiture of

all goods, usually accompanied by death[,] [w]e may presume that persons confined in

gaols awaiting trial on criminal charges were also debarred from the possession of arms”;

and (2) that “[a]ll the ratifying convention proposals which most explicitly detailed the

recommended right-to-arms amendment excluded criminals and the violent.” 75 Kates’s

arguments have garnered significant criticism. 76 And for good reason.


73
  Nor does depriving felons of the right to vote on the theory that they “lack virtue” support
depriving felons of the right to bear arms on the same basis. See Kanter, 919 F.3d at 462–
64 (Barrett, J., dissenting) (explaining that virtue-based exclusions “are associated with
civic rights,” like the right to vote, and that “virtue exclusions don’t apply to individual
rights,” like the Second Amendment). Cooley himself distinguished between the right to
vote, Cooley, supra note 69, at 29–30, 599, and “The Constitutional Protections to Personal
Liberty,” id. at 295–350, which included the “Right to bear arms,” id. at 350. And rightly
so: “The right to vote is historically and textually distinct from the Second Amendment.”
Binderup, 836 F.3d at 369 n.14 (Hardiman, J., concurring in part & concurring in
judgments).
74
  Don B. Kates, Handgun Prohibition and the Original Meaning of the Second
Amendment, 82 Mich. L. Rev. 204, 266 (1983).
75
     Id.
76
     See, e.g., Marshall, supra note 64, at 714; Larson, supra note 64, at 1374.


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           Start with Kates’s reliance on the punishment of felons at the Founding. “The

premise of this argument—that the states permanently extinguished the rights of felons,

either by death or operation of law, in the eighteenth and nineteenth centuries—is shaky.”77

And “[b]y the time the Constitution was ratified, James Wilson observed that while the

term ‘felony’ was once ‘very strongly connected with capital punishment,’ that was no

longer true.” 78 So while death remained a possible punishment for many felonies, death

“no longer inevitably followed a felony conviction.” 79

           This poses a problem for Kates’s theory because there existed felons at the Founding

who were not put to death, so any deprivation of those felons’ right to armed self-defense

would have been effectuated by some means other than their death. In a later article, Kates

defended his original position by arguing that felons, even if not actually put to death, were

subject to “civil death,” which in turn stripped them of personal rights, including the right

to bear arms. 80 But the American version of civil death did not deprive felons of all rights.81

And depriving someone of a right based on civil death also “required explicit statutory

authorization.” 82 But neither Kates nor any other scholar (at least as this Court is aware)



77
     Kanter, 919 F.3d at 458 (Barrett, J., dissenting).
78
     Id. at 459.
79
  Id. See Folajtar, 980 F.3d at 920 (Bibas, J., dissenting) (explaining that “[e]ven before
the Founding, the link between felonies and capital punishment was frayed” and that
“[e]ven crimes that were capital in theory often were not in practice”).
80
  See Don B. Kates, A Modern Historiography of the Second Amendment, 56 UCLA L.
Rev. 1211, 1231 n.100 (2009).
81
     Kanter, 919 F.3d at 460 (Barrett, J., dissenting).
82
     Id.


                                                28
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has identified a single Founding-era law depriving felons of the right to keep and bear arms

as a consequence of civil death.

         Kates’s reliance on three ratification convention proposals—from New Hampshire,

Massachusetts, and Pennsylvania—fairs no better. Kates alleged that certain language in

these proposals would have excluded felons from the right to armed self-defense, and that

as a result, the Second Amendment would have been understood to permit legislatures to

deprive persons of the right to armed self-defense solely based on felony status. But for

several reasons, these three proposals provide little guidance as to the meaning of the

language that was actually adopted by the people in 1791. As then-Judge Barrett explained:

         First, none of the relevant limiting language [in these proposals] made its
         way into the Second Amendment. Second, only New Hampshire’s
         proposal—the least restrictive of the three—even carried a majority of its
         convention. Third [and contrary to Kates’s allegation], proposals from other
         states that advocated a constitutional right to arms did not contain similar
         language of limitation or exclusion. And finally, similar limitations or
         exclusions do not appear in any of the four parallel state constitutional
         provisions enacted before ratification of the Second Amendment. 83

         In any event, none of these proposals likely would have been understood to sweep

in all felonious conduct. The New Hampshire proposal only applied to those who “are or

have been in actual rebellion.” 84 The unsuccessful proposal at the Massachusetts


83
     Id. at 455 (cleaned up).
84
   1 Jonathan Elliot, The Debates in the Several State Conventions on the Adoption of
the Federal Constitution 326 (2d ed. 1891). “Thus, while this proposal reflects support for
disarming rebels, it does not say anything about disarming those who have committed other
crimes, much less nonviolent ones.” Kanter, 919 F.3d at 455 (Barrett, J., dissenting). See
Folajtar, 980 F.3d at 915 (Bibas, J., dissenting); Larson, supra note 64, at 1375 (“Rebellion
is only one type of felony, and the explicit limitation to rebellion strongly suggests that
extension to any other felony would be inappropriate.”).


                                             29
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convention sought to limit the right to “peaceable citizens”; 85 but that term “was not a

synonym for ‘non-felons’ or even ‘non-criminals.’” 86 So, although it swept more broadly

than the New Hampshire proposal, the Massachusetts proposal did not exclude “all

criminals, or even all felons.” 87 It only “would have disarmed those who caused physical

disruption and threatened public safety.” 88 And the Pennsylvania Minority’s proposal,

which the United States relies on elsewhere in its brief, seems to most naturally be read as

only excluding “those who pose[d] a danger to public safety, whether or not they have

committed a crime.” 89 Some have disagreed with this reading of the Pennsylvania proposal,

arguing that it did sweep in all felons. 90 But even if that were the case, the Pennsylvania

proposal, on its own, cannot support the United States’ theory: “[I]t was suggested by

a minority of the Pennsylvania ratifying convention that failed to persuade its own state,

let alone others. A single failed proposal is too dim a candle to illumine the Second

Amendment’s scope.” 91


85
     2 Bernard Schwartz, The Bill of Rights: A Documentary History 675, 681 (1971).
86
     Kanter, 919 F.3d at 456 (Barrett, J., dissenting).
87
     Id. at 455.
88
     Folajtar, 980 F.3d at 915 (Bibas, J., dissenting).
89
     Kanter, 919 F.3d at 456 (Barrett, J., dissenting).
90
   See, e.g., Range v. Att’y Gen. United States, 53 F.4th 262, 280 (3d Cir. 2022) (per
curiam), reh’g en banc granted, opinion vacated sub nom. Range v. Att’y Gen. United
States of Am., No. 21-2835, --- F.4th ----, 2023 WL 118469 (3d Cir. Jan. 6, 2023).
91
  Folajtar, 980 F.3d at 915 (Bibas, J., dissenting) (emphasis in original). The “Minority”
apparently constituted only about one-third of the convention, twenty-three people total.
See The Address and Reasons of Dissent of the Minority of the Convention of the State of
Pennsylvania to their Constituents, THE PENNSYLVANIA PACKET, AND DAILY
ADVERTISER, Dec. 18, 1787, at 1–3; Marshall, supra note 64, at 712. While it’s true, as the


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            These three proposals, therefore, do not establish that a person could be deprived of

the right to bear arms at the Founding merely by engaging in felonious conduct. “The

concern common to all three is not about felons in particular or even criminals in

general.” 92 Rather, the common concern was persons who “threatened violence” and posed

a risk of causing “public injury.” 93 Persons engaging in felonious conduct as a category are

both underinclusive and overinclusive of that group. The commission of some felonies

indicates no particular risk of future dangerousness. But the past conduct of many non-

felons, such as a domestic-violence misdemeanant, can demonstrate that such a person

poses a significant risk of causing public injury. Felony status alone, therefore, does not

map onto the convention proposals’ concerns.

           iii.   History and tradition support disarming persons who have demonstrated
                  their dangerousness through past violent, forceful, or threatening conduct.

            While our Nation’s history and tradition does not support disarming a person merely

because they have engaged in felonious conduct, it does support a different proposition:

“that the legislature may disarm those who have demonstrated a proclivity for violence”




United States points out, that “Heller identified this report as ‘highly influential’ in the run-
up to the Second Amendment,” Heller “did so in the context of concluding that the
Amendment codified an individual right not limited to militia service. There is no reference
in Heller to the ‘unless’ clause in the Pennsylvania dissenters’ proposal, and needless to
say, this limiting language did not find its way into the Second Amendment.” Skoien, 614
F.3d at 648 (Sykes, J., dissenting) (internal citation omitted).
92
     Kanter, 919 F.3d at 456 (Barrett, J., dissenting).
93
     Id.


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through past violent, forceful, or threatening conduct (or past attempts at such conduct). 94

Or, to put it another way, “the historical record” demonstrates “that the public

understanding of the scope of the Second Amendment was tethered to the principle that the

Constitution permitted the dispossession of persons who demonstrated that they would

present a danger to the public if armed.” 95 A few examples of historical restrictions on

firearm possession or use illustrate the point.

           Take the laws limiting the right to carry a firearm while actively intoxicated

discussed above. The justification for these laws? The danger that could be caused by an

intoxicated person carrying a firearm in crowded areas. 96 Or take the surety statutes that

were enacted in a few states in the mid-to-late nineteenth century. These laws purported to

“require[] certain individuals to post bond before carrying weapons in public.” 97 What did

these laws target? “[T]hose threatening to do harm.” 98 A person was required to post a

bond “only when ‘attended with circumstances giving just reason to fear that he purpose[d]




94
   Id. at 454. To be certain, the Nation’s history and tradition does support the proposition
that some persons that engage in felonious conduct can be deprived of the right to possess
firearms. But that is not because those persons engaged in conduct that a legislator had
defined as a felony; it is because a person’s past conduct demonstrates that there are good
reasons to think that such a person poses a risk of causing “public injury.” Id. at 456. “[T]he
historical limits on the Second Amendment” thus “protect us from felons, but only if they
are dangerous.” Folajtar, 980 F.3d at 912 (Bibas, J., dissenting).
95
     Binderup, 836 F.3d at 369 (Hardiman, J., concurring in part & concurring in judgments).
96
     See Shelby, 2 S.W. at 469.
97
     Bruen, 142 S. Ct. at 2148.
98
     Id.


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to make an unlawful use of [firearms.]’” 99 Laws targeting those who engaged in rebellion

were also justified on the grounds that such persons posed a danger to public safety. These

laws demonstrate that “persons who by their actions . . . betray a likelihood of violence

against the state may be disarmed.” 100

         These examples and the Nation’s broader historical tradition demonstrate that

limitations on the right to armed self-defense “were tied to dangerousness.” 101 That is not

to say that governments are limited to these exact prohibitions. 102 But the justification of

modern restrictions still must be analogous to the justifications of Founding-era

restrictions: some likelihood of dangerousness demonstrated through past violent, forceful,

or threatening conduct.

         As previously discussed, Heller explained that longstanding prohibitions on

possession of firearms by felons are “presumptively lawful.” 103 History and tradition’s

focus on those who have demonstrated a proclivity for violence through past violent,

forceful, or threatening conduct is entirely consistent with Heller’s statement because the

identified longstanding restrictions on receipt or possession of firearms applied only to

those dangerous felons.



99
  Id. (quoting William Rawle, A View of the Constitution of the United States of America
126 (2d ed. 1829)).
100
      Marshall, supra note 64, at 727–28.
101
      Folajtar, 980 F.3d at 913 (Bibas, J., dissenting).
102
   See Skoien, 614 F.3d at 648 (Sykes, J., dissenting) (“[N]o one has suggested that the
legislative role ended in 1791[.]”).
103
      554 U.S. at 627 n.26.


                                                33
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          Before 1934, Congress largely stayed out of nationwide firearms regulation. In

1932, Congress passed what appears to be its first prohibition on the possession of firearms

based on a prior conviction. The law prohibited any person previously convicted of a

“crime of violence” from possessing a pistol in the District of Columbia. 104 By limiting the

ban on possession to those convicted of a crime of violence—a category including “any of

the following crimes, or an attempt to commit any of the same, namely: Murder,

manslaughter, rape, mayhem, maliciously disfiguring another, abduction, kidnaping,

burglary, housebreaking, larceny, any assault with intent to kill, commit rape, or robbery,

assault with a dangerous weapon, or assault with intent to commit any offense punishable

by imprisonment in the penitentiary” 105—the statute only swept in those who had a history

of committing or attempting to commit violent, forceful, or threatening acts.

          The first major nationwide prohibition on the basis of a prior conviction was enacted

in 1938, when Congress passed the Federal Firearms Act (“FFA”). 106 As relevant here, that

act made it “unlawful for any person who has been convicted of a crime of violence . . . to

receive any firearm or ammunition which has been shipped or transported in interstate or

foreign commerce.” 107 But again, by limiting the statute’s reach to crimes of violence,

Congress only placed the prohibition on those who had a history of committing violent,




104
      Act of July 8, 1932, ch. 465, § 3, 47 Stat. 650, 651 (1932).
105
      Id. § 1.
106
      An Act to Regulate Firearms in Commerce, Pub. L. No. 75-785, 52 Stat. 1250 (1938).
107
    Id. § 2(f). While the statute only prohibited receipt of a firearm, “the possession of a
firearm” was “presumptive evidence” a firearm was received in interstate commerce. Id.


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forceful, or threatening acts. 108 Thus, felons who did not commit violent or dangerous

crimes were permitted to receive (and possess) firearms. The longest-standing felony-

related federal firearms prohibition only applied to persons “who ha[d] previously, by due

process of law, been shown to be aggressors against society.” 109

         It was not until 1961—just fifteen years before the adoption of the ordinances

invalidated in Heller—that Congress dropped the crime-of-violence requirement from

federal law. The 1961 Amendments to the FFA replaced the then-existing category of

prohibited persons, those convicted of a “crime of violence,” with a prohibition on persons

who had previously been convicted of a “crime punishable by imprisonment for a term

exceeding one year.” 110 Thus, it was not until 1961 that Congress, for the first time,

prohibited persons from receiving a firearm solely on the basis of the person having been

convicted of a felony, regardless of whether the felony conviction signified that the person

exhibited a likelihood of future violence or force. 111




108
    Id. § 1(6) (defining “crime of violence” to include “murder, manslaughter, rape,
mayhem, kidnaping, burglary, housebreaking; assault with intent to kill, commit rape, or
rob; assault with a dangerous weapon, or assault with intent to commit any offense
punishable by imprisonment for more than one year”). “Of these, housebreaking is likely
the only misdemeanor. The rest of the listed crimes are serious violent felonies.” Skoien,
614 F.3d at 649 n.8 (Sykes, J., dissenting).
  United States v. Tot, 131 F.2d 261, 266 (3d Cir. 1942), rev’d on other grounds, 319 U.S.
109

463 (1943).
110
      An Act to Strengthen the Federal Firearms Act, Pub. L. No. 87-342, 75 Stat. 757 (1961).
111
   See Skoien, 614 F.3d at 640 (majority opinion) (noting that “the [1938] Federal Firearms
Act covered only a few violent offenses; the ban on [receipt] by all felons was not enacted
until 1961”).


                                              35
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            The history of state prohibitions largely mirrors the federal story. Before World War

I, most state-level regulation “remain[ed] faithful to ‘the rule in America’ of only

regulating ‘firearms which may be concealed on the person.’” 112 However, the rise in crime

brought on by Prohibition led some states to consider expanding restrictions to include

prohibitions on possession or ownership of certain firearms. Indiana, Oregon, and

Michigan appear to have been the first states with state constitutional arms protections to

have passed prohibitions on the possession of firearms on the basis of prior criminal

conduct, doing so in 1925. 113 But like the original FFA, those prohibitions only applied to

dangerous persons, i.e., those who had been convicted of a “crime of violence.” 114 Between

1925 and 1938, several other state and territorial jurisdictions with constitutional arms

protections adopted similar provisions. 115

            Because all these longstanding prohibitions focused on dangerousness exhibited by

past violent, forceful, or threatening conduct, “[d]ispossession on the basis of a conviction

for these sorts of crimes comports with the original public understanding of the scope of

the right to keep and bear arms.” 116




112
      Marshall, supra note 64, at 701.
113
      Id. at 701–02.
114
      Id.
115
      Id. at 705.
116
      Binderup, 836 F.3d at 375 (Hardiman, J., concurring in part & concurring in judgments).


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         iv.    Total prohibitions on the right to possess a firearm merely on the basis of a
                person being a user of marijuana do not fall within the tradition of disarming
                persons who have demonstrated their dangerousness through past violent,
                forceful, or threatening conduct.

         As explained above, there is little existing historical evidence to support the

proposition that a legislature can deprive persons who engage in felonious conduct of the

right to possess arms “simply because of their [implicit] status as felons.” 117 Rather, the

Nation’s historical tradition of firearm regulation demonstrates that Congress may disarm

those who have demonstrated a proclivity for violence through past violent, forceful, or

threatening conduct (or past attempts at such conduct). 118 Harrison may well have such a

proclivity, but the mere fact that he uses marijuana does not tell us that. 119

         It bears repeating that all the United States would have to prove at trial to justify

depriving Harrison of his right to possess a firearm is that he is a user of marijuana. But

the mere use of marijuana carries none of the characteristics that the Nation’s history and


117
      Kanter, 919 F.3d at 454 (Barrett, J., dissenting).
118
    None of this is to suggest that a legislature may not punish an individual’s use of a
firearm to further some other criminal act. See, e.g., 18 U.S.C. § 924(c). There appears to
be a historical tradition of punishing such conduct. See, e.g., Range, 53 F.4th at 281
(discussing colonial and early state laws that authorized the seizure or forfeiture of guns
used to commit misdemeanor hunting offenses); Bruen, 142 S. Ct. at 2141–42, 2146
(discussing the common law crime of going armed to the terror of the people (codified by
the English Statute of Northampton), which prohibited carrying firearms “with evil intent
or malice” or “for a ‘wicked purpose’ with a ‘mischievous result’”). The key point here is
that § 922(g)(3) does not require any proof that a firearm is possessed to facilitate or further
the use of marijuana.
119
     That Harrison may have other characteristics that indicate he may fall within the
category of persons Congress may disarm is irrelevant in this case. All the United States
would have to prove at trial to justify depriving Harrison of his right to possess a firearm
is that he is a user of marijuana, so the United States must justify depriving Harrison of his
right to armed self-defense on that basis alone.


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tradition of firearms regulation supports. The use of marijuana—which can be bought

legally (under state law) at more than 2,000 ordinary store fronts in Oklahoma 120— is not

in and of itself a violent, forceful, or threatening act. It is not a “crime of violence.” Nor

does it involve “the actual use or threatened use of force.” 121

         That Congress may have passed § 922(g)(3), as the United States suggests, with

some vague relation to public safety or “the public interest” does not change this

conclusion. 122 It is not appropriate for a court to “reflexively defer to [a legislative] label

when a fundamental right is at stake.” 123 And the use of marijuana does not become a

violent, forceful, or threatening act merely because a legislature says that it is.

         The United States also points to several pre-Bruen cases that speculate (under the

judicial interest-balancing approach Bruen rejected) that users of controlled substances

may be more likely than non-users “to engage in illegal and violent gun use” in the

future. 124 The statements in these cases, the United States points out, are backed up by

social science, statistics, and predictions about future crime. But “stripping a person’s

fundamental rights based on projected crimes untethered from past dangerous actions is a


120
    As of January 2020, the Oklahoma Medical Marijuana Authority reported granting
licenses to 2,242 dispensaries. See Janice Francis Smith, ‘Astonishing’: State leads nation
in number of cannabis dispensaries, The Journal Record (Feb. 5, 2020).
121
   See Binderup, 836 F.3d at 376 (Hardiman, J., concurring in part & concurring in
judgments).
122
   See id. (“The Government’s unremarkable observation that Maryland’s [gun] licensing
requirement relates to public safety does not make Suarez’s offense a violent crime.”).
123
      Folajtar, 980 F.3d at 912 (Bibas, J., dissenting). See Bruen, 141 S. Ct. at 2131.
124
   United States’ Resp. (Dkt. 25), at 33 (quoting United States v. Yancey, 621 F.3d 681,
685 (7th Cir. 2010)).


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risky game indeed.” 125 That is why Bruen rejected the very interest-balancing approach

that the United States asks the Court to adopt. 126 True, one opinion in Bruen looked to

statistics, expert opinions, and predictive judgments, but that opinion was the dissent. 127

The Second Amendment demands more than the United States’ interest-balancing

approach that is based on speculative assessments of future risk and “back-of-the-envelope

math.” 128 It requires that § 922(g)(3), as applied to Harrison, be consistent with history and

tradition’s focus on violent, forceful, or threatening conduct. It is not.

  c. The Mentally Ill.

            Next, the United States argues that § 922(g)(3) is analogous to “longstanding

prohibitions on the possession of firearms by . . . the mentally ill.” 129 According to the

United States, the “traditional[] view[]” amongst Americans is that the “mentally ill” are

“persons who cannot bear arms without posing real danger to public safety.” 130 To support

this proposition, the United States points to pre-colonial and colonial practices that severely

curbed the liberty of “lunatics,” particularly the ability to “lock up ‘dangerous lunatics’ and




125
      Folajtar, 980 F.3d at 923 (Bibas, J., dissenting) (emphasis omitted).
126
      Bruen, 142 S. Ct. at 2125–31.
127
      See id. at 2163–67, 2173–74 (Breyer, J., dissenting).
128
   Ass’n of New Jersey Rifle and Pistol Clubs Inc. v. Att’y Gen. of New Jersey, 974 F.3d
237, 260 (3d Cir. 2020) (Matey, J., dissenting), cert. granted, judgment vacated sub
nom. Ass’n of New Jersey Rifle & Pistol Clubs, Inc. v. Bruck, 142 S. Ct. 2894 (2022).
129
      United States’ Resp. (Dkt. 25), at 29 (quoting Heller, 554 U.S. at 626).
130
      Id.


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seize their property.” 131 And if governments could lock up dangerous lunatics, the United

States argues, then it certainly would have been permissible to disarm such persons.

            But the United States’ own conception of the historical tradition demonstrates why

§ 922(g)(3) as applied to Harrison is not analogous to these traditions. Under the United

States’ own theory, history and tradition would limit disarmament to dangerous lunatics.

And as explained above, the mere use of marijuana does not indicate that someone is in

fact dangerous, let alone analogous to a “dangerous lunatic.” There are likely nearly

400,000 Oklahomans who use marijuana under state-law authorization. Lumping all those

persons into a category with “dangerous lunatics,” as the United States’ theory requires, is

a bridge too far.

            The United States responds by advancing a somewhat different argument: that drug

users, like the mentally ill, “have difficulty exercising self-control, making it dangerous for

them to possess deadly firearms.” 132 But that argument appears to have no limit. The

Diagnostic and Statistical Manual of Mental Disorders, for example, lists autism, attention

deficit disorder, and nicotine dependence as mental disorders. 133 All those groups “have

difficulty exercising self-control,” and yet, it is hard to see how any of those groups could

be categorically prohibited from the right to armed self-defense on that basis. 134


131
      Id.
132
      Id. at 33 (quoting Yancey, 621 F.3d at 685).
133
   See American Psychiatric Association, Diagnostic & Statistical Manual of Mental
Disorders 56, 68, 645 (5th ed., text revision, 2022).
134
   This is yet another attempt by the United States to transform distinct historical examples
into roving warrants applicable to whatever conduct it desires. The trick goes something


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         2. Restrictions on “Unvirtuous” Persons.

         The United States also argues that “ample historical scholarship has established that

the Second Amendment right to bear arms was closely tied to the concept of a virtuous

citizenry and to the notion that the government could disarm lawbreaking or otherwise

unvirtuous citizens who posed a risk to public safety.” 135 And since Congress could view

marijuana users as “unvirtuous,” § 922(g)(3) falls within that historical tradition. But there

are two problems with this argument.

         First, under the United States’ own conception of the historical tradition, such

restrictions would only apply to those who are both unvirtuous and dangerous. And as

explained above, because the mere use of marijuana does not involve violent, forceful, or

threatening conduct, a user of marijuana does not automatically fall within that group.

         Second, the idea that the Second Amendment incorporates some “vague ‘virtue’

requirement” is “belied by the historical record” 136 and inconsistent with Heller itself:

         Although courts, scholars, and litigants have cited this supposed
         limitation, this virtuous-citizens-only conception of the right to keep and bear

like this: Take a historical example that applied to a distinct class of persons (e.g.,
dangerous lunatics), extract from it a broad principle (e.g., concerns about people “lacking
self-control”), and then fit into that broad category whole new classes of people (e.g.,
marijuana users), even if they aren’t remotely the sort of persons that were historically
regulated.
135
      United States’ Resp. (Dkt. 25), at 32.
136
    Binderup, 836 F.3d at 358 (Hardiman, J., concurring in part & concurring in judgments);
id. at 372 (“We have found no historical evidence on the public meaning of the right to
keep and bear arms indicating that ‘virtuousness’ was a limitation on one’s qualification
for the right—contemporary insistence to the contrary falls somewhere between guesswork
and ipse dixit.”); Folajtar, 980 F.3d at 919 (Bibas, J., dissenting) (“The focus on virtue
rests on strained readings of colonial laws and ratifying conventions perpetuated by
scholars and courts’ citing one another’s faulty analyses.”).


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            arms is closely associated with pre-Heller interpretations of the Second
            Amendment by proponents of the ‘sophisticated collective rights model’
            who rejected the view that the Amendment confers an individual right and
            instead characterized the right as a ‘civic right exercised by citizens, not
            individuals who act together in a collective manner, for a distinctly public
            purpose: participation in a well regulated militia. 137

But Heller “expressly rejects the argument that the Second Amendment protects a purely

civic right. It squarely holds that ‘the Second Amendment confer[s] an individual right to

keep and bear arms[.]” 138 And because “virtue exclusions don’t apply to individual rights,

they don’t apply to the Second Amendment.” 139 Therefore, the limits on the right protected

by the Second Amendment “are not defined” by a person’s “lack of virtue or good

character.” 140 “The right historical test is not virtue, but dangerousness” as exhibited by

past violent, forceful, or threatening conduct. 141

               3. Restrictions on Slaves, Indians, Catholics, and Loyalists.

            In its defense of § 922(g)(3), the United States retreats even further. At argument,

the United States pointed to a variety of rather ignominious historical restrictions that it

argues demonstrates a historical tradition permitting legislatures to disarm those whom the




137
   Binderup, 836 F.3d at 371 (Hardiman, J., concurring in part & concurring in judgments)
(cleaned up). See id. at 372 n.18; Kanter, 919 F.3d at 462–64 (Barrett, J., dissenting);
Folajtar, 980 F.3d at 912 (Bibas, J., dissenting).
138
    Kanter, 919 F.3d at 463 (Barrett, J., dissenting) (quoting Heller, 554 U.S. at 595)
(internal citation omitted).
139
      Id.
140
      Id. at 464.
141
      Folajtar, 980 F.3d at 913 (Bibas, J., dissenting).


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legislature views as “untrustworthy”: namely, slaves, Indians, Catholics, and loyalists. 142

Since Congress could equally view drug users as “untrustworthy,” so the argument goes,

then these historical regulations provide constitutional cover for § 922(g)(3). The United

States’ reliance on these laws is concerning, but in any event, they do not support the

constitutionality of § 922(g)(3).

      a. Slaves and Indians.

      To start, historical restrictions on slaves and Indians provide no insight into the

constitutionality of § 922(g)(3). That is because neither slaves nor Indians were understood

to be a part of the “political community” of persons protected by the Second

Amendment. 143 Slaves, of course, were not made a part of the political community until

the post-Civil War amendments and thus did not hold any Second Amendment rights—a

point infamously, yet explicitly, made by Dred Scott v. Sanford itself. 144 Indians, likewise,



142
    See Range, 53 F.4th at 274 (“[T]he pertinent historical periods were replete with laws
‘relevantly similar’ to the modern prohibition on felon firearm possession because they
categorically disqualified people from possessing firearms based on a judgment that certain
individuals were untrustworthy parties to the nation’s social compact.”).
143
   Heller, 554 U.S. at 580. Cf. United States v. Carpio-Leon, 701 F.3d 974, 979 (4th Cir.
2012) (“[W]e would also have to recognize that groups like women, Native Americans,
and blacks may not have been part of the political community at the time of the founding.”).
144
   60 U.S. (9 How.) 393, 416–17 (1857) (explaining that “at the time the Constitution was
adopted, and long afterwards . . . it cannot be believed that the large slaveholding States
regarded [African Americans, whether free or enslaved] as included in the word citizens,
or would have consented to a Constitution which might compel them to receive them in
that character from another State. For if they were so received, and entitled to the privileges
and immunities of citizens . . . [i]t would give to persons of the negro race . . . the full
liberty . . . to keep and carry arms wherever they went”). See McDonald v. City of Chicago,
561 U.S. 742, 822–23, 844–50 (2010) (Thomas, J., concurring in part & concurring in
judgment); Bruen, 142 S. Ct. at 2150.


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were also generally not considered to be a part of the political community protected by the

Second Amendment; 145 in fact, all Indians did not become citizens until long after African

Americans. The Fourteenth Amendment’s Citizenship Clause, which granted citizenship

to newly freed slaves, was initially interpreted not to sweep in all Indians. 146 It was not

until the adoption of the Indian Citizenship Act of 1924 that “all non-citizen Indians born

within the territorial limits of the United States” were granted citizenship and brought

within the political community protected by the Second Amendment. 147 Thus, historical

restrictions on these groups provide little insight into the meaning of the Second

Amendment because the ratifying public would not have understood those group to be

protected by the Second Amendment.

         b. Catholics, Loyalists, and Others Deemed Untrustworthy.

         The United States’ reliance on laws restricting the rights of Catholics, loyalists, and

others deemed untrustworthy similarly misses the mark. And its reliance on these various

pre-constitutional practices requires the Court to address a broader conceptual point.

According to the United States’ theory, all pre-1789 practice is entitled to equal weight.

That is, if colonial or pre-1789 state governments imposed a restriction on firearms, the

Second Amendment must be understood to have incorporated those restrictions.




145
      See Dred Scott, 60 U.S. (9 How.) at 404.
146
      See U.S. Const. amend. XIV, § 1; see also Elk v. Wilkins, 112 U.S. 94 (1884).
147
      Pub. L. No. 68-175, 43 Stat. 253 (1924).


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         The problem with this argument is that, as Bruen explained, “when it comes to

interpreting the Constitution, not all history is created equal.” 148 And while the Second

Amendment and other provisions of the Bill of Rights were intended to codify pre-existing

rights, 149 the Constitution and Bill of Rights did not incorporate all pre-1789 practice. That

is because the liberty-protecting provisions of the Constitution were responding to both

ancient and recent abuses. The Framers themselves recognized that colonial and early state

governments repeatedly violated the liberty-protecting provisions of the English and state

bills of rights. 150 Writing just nine years after the adoption of the Bill of Rights, Justice

Samuel Chase explained that “[t]here is . . . a material difference between laws passed by

the individual states, during the revolution, and laws passed subsequent to the organization

of the federal constitution. Few of the revolutionary acts would stand the rigorous test now

applied” under the federal Constitution. 151 A few examples from other constitutional

provisions demonstrate this point in relation to both colonial and pre-1789 state practice.


148
   Bruen, 142 S. Ct. at 2136; id. at 2133 (“[C]ourts should not ‘uphold every modern law
that remotely resembles a historical analogue,’ because doing so ‘risk[s] endorsing outliers
that our ancestors would never have accepted.’” (quoting Drummond v. Robinson, 9 F.4th
217, 226 (3d Cir. 2021)).
149
   Heller, 554 U.S. at 592 (“[I]t has always been widely understood that the Second
Amendment, like the First and Fourth Amendments, codified a pre-existing right.”
(emphasis in original)).
150
    See, e.g., Michael Kent Curtis, Free Speech, “The People’s Darling Privilege”:
Struggles for Freedom of Expression in American History 47 (2000) (“[I]t was after acts
like the suppression of the Tory press, loyalty oaths, the searches of Quakers, and a
Massachusetts legislative declaration finding certain persons guilty of treason, that
Madison noted that one objection to a bill of rights was that state bills of rights had been
repeatedly violated.”).
151
      Cooper v. Telfair, 4 U.S. (4 Dall.) 14, 19 (1800).


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         Like the Second Amendment, the Fourth Amendment also “codified a pre-existing

right.” 152 But in many ways, the Fourth Amendment was ratified, in part, to respond to

very recent abuses that occurred in the colonial era. As the Supreme Court has explained,

“the Fourth Amendment was the founding generation’s response to the reviled ‘general

warrants’ and ‘writs of assistance’ of the colonial era, which allowed British officers to

rummage through homes in an unrestrained search for evidence of criminal activity.” 153

Thus, even though the Fourth Amendment “codified a pre-existing right,” 154 no one would

suggest that the colonial-era practices of writs of assistance and general warrants were

incorporated into the Fourth Amendment.

         The same is true for pre-1789 state practice. After independence, many of the newly

independent states adopted constitutions containing provisions analogous to those found in

the subsequent federal Constitution. But those states repeatedly violated the clear import

of many of those provisions, including the freedom of the press, the right against

unreasonable searches, and protections against bills of attainder. 155 Some aspects of the

federal Constitution were even specifically designed to respond to recent state abuses. Take

the Contracts Clause, which was adopted to respond to “an ignoble array of legislative

schemes for the defeat of creditors and the invasion of contractual obligations” that




152
      Heller, 554 U.S. at 592 (emphasis in original).
153
      Riley v. California, 573 U.S. 373, 403 (2014).
154
      Heller, 554 U.S. at 592 (emphasis in original).
155
      See Curtis, supra note 150, at 7.


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persisted throughout the states following the Revolutionary War. 156 It would make little

sense to understand any of these clauses as incorporating—rather than repudiating—such

pre-1789 state practice.

         It is difficult to think that the public who adopted the Second Amendment intended

to incorporate the Catholic and loyalist type of pre-constitutional restrictions—and the

United States’ broader theory of legislatively determined “untrustworthiness”—into the

federal Constitution. First, key framers were critical of analogous trustworthiness

approaches. For example, in Federalist 46, James Madison himself criticized the European

monarchical practice of being “afraid to trust the people with arms.” 157

         Second, it would be odd indeed for the Framers to have incorporated such a trojan

horse into the Second Amendment. The purpose of enshrining a right into the Constitution

is to limit the discretion of a legislature. 158 But if the United States’ theory is correct and


156
      Home Bldg. & Loan Ass’n v. Blaisdell, 290 U.S. 398, 427 (1934).
157
      The Federalist No. 46, at 299 (James Madison) (Clinton Rossiter ed., 1961).
158
   See Heller, 554 U.S. at 636 (“[T]he enshrinement of constitutional rights necessarily
takes certain policy choices off the table.”); id. at 634–35. This aspect of our Nation’s
Constitution is an important departure from English practice—a point that is lost on the
United States and the Range panel it relies on. Relying on seventeenth-and eighteenth-
century Parliamentary practice, Range says that this practice “reveals the ‘historical
understanding,’ that the legislature—Parliament—had the power and discretion to
determine who was sufficiently loyal and law-abiding to exercise the right to bear arms,”
and then concludes that American legislatures therefore must also have such discretion
under the Second Amendment. 53 F.4th at 275 (internal citation omitted). But Range’s
analysis ignores the fact that in the British system, Parliament is supreme. Accordingly, the
Second Amendment’s predecessor in the English Bill of Rights, which declared that “the
Subjects which are Protestants, may have Arms for their Defence suitable to their
Conditions, and as allowed by Law,” “like all written English rights,” “was held only
against the Crown, not Parliament.” Heller, 554 U.S. at 593. Our system is much different.


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all a legislature must do to prohibit a group of persons from possessing arms is to declare

that group “untrustworthy,” then the Second Amendment would provide virtually no limit

on Congress’s discretion. The Framers weren’t perfect, but they also weren’t fools.

          Third, the disarmament of Catholics and loyalists “involved wholesale deprivation”

of other civil liberties as well. 159 So, if these laws “justified an exception to the Second

Amendment” based on a legislature’s decision that a group of persons is “untrustworthy,”

the laws would “also justify exceptions to other basic rights” on that basis, including “basic

First, Fourth, and Fifth Amendment rights.” 160 Today, we would not allow the government

to shut down news outlets because the persons running the outlet could not be trusted, even

though Revolutionary War-era Virginia did just that to Loyalists and Pennsylvania the

same to Quakers. 161 If such laws cannot create a historical tradition of regulation in the




Here, the Constitution is supreme. Not Congress. Not state legislatures. Thus, Range’s
absolute legislative-discretion principle is based on a faulty conflation of two entirely
different constitutional systems and is inconsistent with the very foundations of our
Nation’s constitutional structure.
159
      Marshall, supra note 64, at 726.
160
      Id. at 725.
161
    Id. at 725 n.158. The United States points out that the 1776 Pennsylvania Constitution
had a right-to-bear-arms provision. And so, according to the United States, Pennsylvania’s
Revolutionary War-era acts to disarm certain groups should be particularly insightful as to
the meaning of the Second Amendment. But the same 1776 Constitution had a provision
that emphatically declared, in the immediately preceding provision, “[t]hat the people have
a right to freedom of speech, and of writing, and publishing their sentiments; therefore the
freedom of the press ought not to be restrained.” Pa. Const. of 1776, ch. I, § XII. It is
difficult to think of a more empathic protection of the freedom of the press, and yet,
Pennsylvania suppressed Tory and Quaker speech and presses. If these revolutionary-era
speech-suppressing laws cannot create a historical tradition of regulation in the First
Amendment context, how could they do so in the Second?


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First Amendment context, how could they do so in the Second? 162 In America, these laws

were largely passed either during the Seven Years War or “in the darkest days of an

existential domestic war,” the Revolutionary War. 163 Times of war tend to bring out the

worst in governments, at least when it comes to civil liberties. Many governmental acts

that violate core constitutional protections are approved of at that time and justified based

on military necessity. Because of this harsh reality, today, we do not look to Korematsu to

determine when the government may discriminate based on race. Nor do we rely on World

War I-era laws that criminalized political dissent to determine the scope of the First

Amendment. 164 We should be mindful of these realities in the Second Amendment context

as well.

         In any event, the laws restricting the rights of Catholics and loyalists from keeping

and bearing arms cannot provide the basis for a historical analogue to § 922(g)(3). At the

outset, it seems doubtful that the colonial restrictions on Catholics provide any insight into

the meaning of the Second Amendment. 165 First, it appears that only two American


162
   Cf. Bruen, 142 S. Ct. at 2130 (comparing Bruen’s history-and-tradition test with the
Supreme Court’s use of historical evidence to determine the reach of the First
Amendment’s protections).
163
      See Marshall, supra note 64, at 721–25.
164
   See, e.g., Gilbert v. Minnesota, 254 U.S. 325 (1920); Debs v. United States, 249 U.S.211
(1919).
165
   To the extent the United States seeks to rely on laws of Parliament relating to Catholics
from the seventeenth and eighteenth century, those sources are particularly dubious in
interpreting the scope of the Second Amendment. Cf. Bruen, 142 S. Ct. at 2136 (explaining
that English practices that were “never . . . ‘acted upon or accepted in the colonies’” are to
be given little weight (quoting Dimick v. Schiedt, 293 U.S. 474, 477 (1935)). There is little
to no evidence that many of these laws, including the infamous 1688 parliamentary act


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colonies—Virginia in 1756 and Pennsylvania in 1759—ever acted to disarm Catholics. 166

Two laws in place during time of war hardly demonstrate a course of consistent practice

sufficient to establish a constitutionally significant tradition. 167 Second, at the time these

provisions were enacted, the operative rights-protecting document was the English Bill of

Rights, which limited the right “to have arms” to Protestants. 168 Catholics were thus

excluded from the protections of the right. Laws applying to a group that was not protected

by the right to armed self-defense cannot provide any insight into that right’s scope.

         But even if they could, the colonial laws targeting Catholics and loyalists cannot

possibly serve as constitutionally relevant analogues to § 922(g)(3) because the

justifications for these laws—one of the two central considerations under Bruen—are

dissimilar. These colonial laws were justified on the fear that the covered groups were




disarming Catholics, were ever understood to be in force in the colonies. See Robert H.
Churchill, Gun Regulation, the Police Power, and the Right to Keep Arms in Early
America: The Legal Context of the Second Amendment, 25 Law & Hist. Rev. 139, 157 n.47
(2007).
166
   See 5 The Statutes at Large of Pennsylvania from 1682 to 1801 627 (W. Stanley Ray
ed., 1898); Churchill, supra note 165, at 157 & n.47. There is some disagreement over
whether Maryland may have also disarmed Catholics during this period. Compare Range,
53 F.4th at 276–77, and Joseph G.S. Greenlee, The Historical Justification for Prohibiting
Dangerous Persons from Possessing Arms, 20 Wyo. L. Rev. 249, 263 (2020), with
Churchill, supra note 165, at 157 n.47. But the difference between two and three isn’t large
enough to be of constitutional significance. See infra note 167.
167
   See Bruen, 142 S. Ct. at 2142 (“For starters, we doubt that three colonial regulations
could suffice to show a tradition of public-carry regulation.” (emphasis in original)). Cf.
NLRB v. Noel Canning, 573 U.S. 513, 524–26 (2014); id. at 572–74 (Scalia, J., concurring
in judgment); William Baude, Constitutional Liquidation, 71 Stan. L. Rev. 1, 16–18
(2019).
168
      See Heller, 554 U.S. at 592–93.


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likely to wage active war against the colonies or interfere with the colonists’ war efforts. 169

This is a radically different justification than the justification for § 922(g)(3).

         4. Restrictions in Modern Shall-Issue Regimes.

         Finally, the United States points to restrictions in some modern “shall-issue” regimes

that it argues are analogous to § 922(g)(3). According to the United States, Bruen placed a

constitutional stamp of approval on all aspects of every modern shall-issue regime. And

since some modern shall-issue regimes have prohibitions analogous to § 922(g)(3), the

United States argues, Bruen also necessarily approves of § 922(g)(3).

         The United States points to two specific restrictions. The first is an Arkansas statute

that prohibits those who “chronically or habitually abuse a controlled substance to the

extent that his or her normal faculties are impaired” from receiving a permit to carry a

concealed handgun. 170 Arkansas, however, does not prohibit such persons from possessing

a firearm. 171 Nor does there appear to be any restriction on such a person openly carrying

a firearm. The second law is a Texas statute that prohibits “chemically dependent




169
      See Folajtar, 980 F.3d at 914 (Bibas, J., dissenting).
170
      Ark. Code Ann. § 5-73-309(7).
171
      See Ark. Code Ann. § 5-73-103(a).


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person[s]” from receiving a permit to carry a handgun. 172 But like Arkansas, Texas does

not prohibit such persons from possessing a firearm. 173

         The United States’ reliance on these laws is misguided for at least two reasons. First,

it is not clear that Bruen placed a constitutional stamp of approval on all aspects of every

modern shall-issue regime, particularly given that no such regulation was at issue in the

case. Nor is it at all clear that these particular aspects of shall-issue regimes garnered any

serious attention. And the majority explicitly noted the possibility that some aspects of

shall-issue regimes could in fact be unconstitutional in some circumstances. 174 Given the

wide variety of provisions in some forty-three shall-issue states, it would seem imprudent

to suggest that the Court meant to ratify all aspects of every shall-issue regime. Thus, this

Court is “reluctant to place more weight on these passing references than the [Supreme]

Court itself did.” 175




172
   Tex. Gov’t Code Ann. § 411.172(a)(6). A “chemically dependent person” is defined as
“a person who frequently or repeatedly becomes intoxicated by excessive indulgence in
alcohol or uses controlled substances or dangerous drugs so as to acquire a fixed habit and
an involuntary tendency to become intoxicated or use those substances as often as the
opportunity is presented.” Id. § 411.171(2).
173
      See Tex. Penal Code Ann. § 46.04.
174
      See Bruen, 142 S. Ct. at 2138 n.9.
175
   United States v. Meza-Rodriguez, 798 F.3d 664, 669 (7th Cir. 2015) (discussing Heller’s
similar passage regarding certain restrictions).


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         Second, putting aside issues of timing 176 and whether these two laws demonstrate a

well-established tradition, 177 and assuming these laws are consistent with the Second

Amendment, the restrictions in the two shall-issue regimes the United States points to are

not sufficiently analogous to § 922(g)(3). That is because—like the historical intoxication

restrictions discussed above—the Arkansas and Texas laws impose a much narrower

burden on the right of armed self-defense than the burden imposed by§ 922(g)(3). 178 Both

of these laws impact only the right to carry a handgun, and the Arkansas law prohibits only

a certain type of carry. These laws thus preserve the right to defend oneself with other types

of firearms. And importantly, neither law prohibits possession of a firearm, preserving the

right to use a firearm in the home for purposes of self-defense. These laws, therefore, unlike

§ 922(g)(3)—which, again, totally deprives the covered person of the right to armed self-

defense using any type of gun, under all circumstances, and in all places—leave ample

room for the exercise of the core right to armed self-defense.


176
   It appears that the first shall-issue regime was enacted in Washington State in 1961. See
David B. Kopel, Restoring the Right to Bear Arms: New York State Rifle & Pistol
Association v. Bruen, 2022 Cato Supreme Ct. Rev. 305, 325–26. Although the United
States has made no attempt to establish when the drug-related restrictions were included
within such laws, it appears that Washington’s 1961 shall-issue law prohibited persons
with a “record of . . . drug addiction” from carrying a pistol. See R.C.W. 9.41.070 (Supp.
1961). It is worth noting that such persons were permitted to possess a pistol under the
same law. See R.C.W. 9.41.040 (Supp. 1961). In any event, it is difficult to understand how
laws passed 170 years after the Second Amendment could provide any insight into “the
public understanding of the right when the Bill of Rights was adopted in 1791.” Bruen, 142
S. Ct. at 2137.
177
   Cf. Bruen, 142 S. Ct. at 2133, 2142; Noel Canning, 573 U.S. at 524–26; id. at 572–74
(Scalia, J., concurring in judgment); Baude, supra note 167, at 16–18. The United States
has not attempted to demonstrate how many shall-issue regimes have similar restrictions.
178
      See Bruen, 142 S. Ct. at 2133.


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                                        Conclusion

       None of this is to say that the government cannot play a role in protecting the public

from dangerous persons possessing firearms. It can, and it should. For example, if the State

of Texas thought that Harrison’s alleged involvement in a shooting demonstrated that

Harrison was a danger to the public, it could have demonstrated to a Texas judge—in an

individualized proceeding of which Harrison would have been given notice and the

opportunity to be heard—that Harrison ought to be jailed while awaiting trial for that

shooting. The Constitution, after all, permits pre-trial detention, and such detention would

be a highly effective means of furthering the government’s interest in protecting the public

from a gun-toting Harrison. But that didn’t happen; Harrison was released pending trial in

Texas. And so here we are, with the federal government now arguing that Harrison’s mere

status as a user of marijuana justifies stripping him of his fundamental right to possess a

firearm. For all the reasons given above, this is not a constitutionally permissible means of

disarming Harrison.

       Because the Court concludes that 18 U.S.C. § 922(g)(3) violates Harrison’s Second

Amendment right to possess a firearm, the Court declines to reach Harrison’s vagueness

claim. The Motion to Dismiss the Indictment is GRANTED. Accordingly, the Indictment

is DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED this 3rd day of February 2023.




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